                                                      Notice Recipients
District/Off: 1126−2                           User: sgibson                       Date Created: 11/2/2015
Case: 15−02935−MAM7                            Form ID: b18                        Total: 66


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
8714481     Spring Hill
                                                                                                                       TOTAL: 1

Recipients of Notice of Electronic Filing:
aty         Brent William Davis          brent@brentwdavis.com
aty         JASON CHRISTOPHER PARKER                  chrisp@amfirst.org
                                                                                                                       TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Brittany Star Wilkerson          383 Savannah Circle         Calera, AL 35040
tr          Thomas E Reynolds            Reynolds Legal Solutions, LLC          300 Richard Arrington Jr. Blvd. N        Suite
            503        Birmingham, AL 35203
cr          America's First Federal Credit Union           PO Box 11349         Birmingham, AL 35202
cr          WELLS FARGO BANK, N.A.                  3476 Stateview Blvd          MAC D3347−014           Fort Mill, SC 29715
smg         Thomas Corbett          BA Birmingham            1800 5th Avenue North          Birmingham, AL 35203
8714440     ARS For Capital One Bank            PO BOX 469046            Escondido, CA 92046−9046
8714437     Acs/bank Of America           Acs Educatoin Svcs          Utica, NY 13501
8714439     Amca          2269 S Saw Mill          Elmsford, NY 10523
8714435     America's First Federal Credit Union           Member Services Department          Po Box 11349         Birmingham, AL
            35202
8714441     Buddy's Home Furnishings            9260 Hwy 119          Alabaster, AL 35007
8714445     COmenity Bank/ Care Credit GE             PO BOX 12966            Roanoke, VA 24030−2966
8714442     Cach Llc/Square Two Financial            Attention: Bankruptcy         4340 South Monaco St. 2nd Floor        Denver,
            CO 80237
8714443     Capital One         Attn: Bankruptcy          Po Box 30285         Salt Lake City, UT 84130
8714444     Capital One Bank          c/o ARS Dept 110840           PO BOX 1259           Oaks, PA 19456
8714446     Comenity Bank/Maurices             Attention: Bankruptcy         Po Box 182686        Columbus, OH 43218
8714447     Comenity Bank/vctrssec           Po Box 182789          Columbus, OH 43218
8714448     Comenity Capital Bank           c/o ACI         2420 Sweet Home Rd STE 150            Buffalo, NY 14228−2244
8714449     Crd Prt Asso         Attn: Bankruptcy          Po Box 802068         Dallas, TX 75380
8714450     Credit First Firestone        c/o Mccarhty Burgess          26000 Canyon Rd         Bedford, OH 44146
8714451     Credit First/CFNA          Bk13 Credit Operations          Po Box 818011         Cleveland, OH 44181
8714452     Cunningahm Pathology            POB OX 281100            Atlanta, GA 30384−1100
8714453     Dept Of Ed/navient          Po Box 9635          Wilkes Barre, PA 18773
8714454     Dpt Ed/slm         Po Box 9635          Wilkes Barre, PA 18773
8714455     East Alabama Medical Center            2000 Pepperell Pkw          Opelika, AL 36801
8714456     Eastern Account System INC.            Attn: Bankruptcy Dept.         Po Box 837        Newtown, CT 06470
8714457     First National Bank         Attention:FNN Legal Dept           1620 Dodge St. Stop Code: 3290         Omaha, NE
            68197
8714458     First National Bank of Omaha           P.O. Box 105474          Omaha, NE 68103
8714459     First National Bank of Omaha           c/o Taylor Law PLLC           PO BOX 436709          Louisville, KY
            40253−6709
8714460     Ford Motor Credit Corporation           Ford Motor Credit         Po Box 6275        Dearborn, MI 48121
8714461     GECRB/JC Penny             Attention: Bankruptcy         Po Box 103104          Roswell, GA 30076
8714462     GECRB/Lowes            Attention: Bankruptcy Department            Po Box 103104         Roswell, GA 30076
8714463     GECRB/Old Navy             Attn: Bankruptcy         Po Box 130104          Roswell, GA 30076
8714464     Gemb/walmart           Attn: Bankruptcy          Po Box 103104          Roswell, GA 30076
8714465     Hunter Warfield         Attention: Collections Department          4620 Woodland Corporate Blvd           Tampa, FL
            33614
8714466     Internal Revenue Service          CIO: Bankruptcy          POB 7346         Philadelphia, PA 19101−7346
8714467     Internal Revenue Service TCS           insolvency        801 Tom Martin Drive          Birmingham, AL 35211
8714468     Jefferson County Sewer Services           ATTN: Billing         716 Richard Arrington Jr # 800        Birmingham, AL
            35203−0123
8714469     Joyce W Vance          Us Attorney Northern District of Alabama            1801 4th Ave N       Birmingham, AL
            35203
8714470     Lister Healthcare Corp Lab          PO BOX 298           Florence, AL 35631−0298
8714471     Lister Healthcare Corp Radiology           PO BOX 298           Florence, AL 35631−0298
8714473     Navient         Po Box 9500         Wilkes Barre, PA 18773
8714474     Portfolio Recovery Ass          120 Corporate Blvd Ste 1          Norfolk, VA 23502
8714475     Progressive leasing         10619 South Jordan Gateway           STE 100         South Jordan, UT 84095
8714476     Quest Diagnostics         PO Box 740777           Cincinnati, OH 45274−0777
8714477     Receivables Performanc           20816 44th Ave W           Lynnwood, WA 98036
8714478     Regions Bank          Po Box 11007          Birmingham, AL 35288
8714479     Shelby County Tax Collector           102 Depot Street         Columbiana, AL 35051−9332
8714480     Slm Financial Corp          11100 Usa Pkwy           Fishers, IN 46037
8714482     Spring Hill College         400 Dauphin St         Mobile, AL 36608
8714483     State of Ala Dept of Revenue          POB 154          Montgomery, AL 36135−0001

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8714484   Syncb/belk        Po Box 965028         Orlando, FL 32896
8714485   Syncb/care Credit        C/o Po Box 965036         Orlando, FL 32896
8714486   Synchrony Bank/ Lowes          c/o Nationwide Credit Inc       PO BOX 26314        Lehigh Valley, PA
          18002−6314
8714487   Synchrony Bank/ WalMart          c/o PRA Dept 922         PO BOX 4115         Concord, CA 94524
8714488   Synchrony Captial Retail BAnk          PO BOX 12966         Roanoke, VA 24030−2966
8715558   U S Attorney        1801 4th Ave North        Birmingham, AL 35203
8714489   US Atty General/Office of US Atty Gen.        US Department of Justice       950 Pennsylvania
          Ave        Washington, DC 20530−0001
8714490   Webbank/fingerhut         6250 Ridgewood Rd          Saint Cloud, MN 56303
8714491   Weisfield Jewelers/Sterling Jewelers Inc      Attn: Bankruptcy        Po Box 1799       Akron, OH 44309
8714436   Wells Fargo Hm Mortgag          8480 Stagecoach Cir        Frederick, MD 21701
8714492   Wfdillards       Po Box 14517          Des Moines, IA 50306
8714438   alabama Bone & Joint         PO BOX 1826          Pelham, AL 35124−5826
8714472   montevallo family medicine         33 salem Rd, STE 1        Montevallo, AL 35115−4216
                                                                                                              TOTAL: 63




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